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4    Telephone: (916) 554-2798
5
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7
8                      IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         No. 2:04-cr-00357-MCE
                                   )         No. 2:07-cr-00105-MCE
12              Plaintiff,         )
                                   )
13        v.                       )
                                   )         MOTION AND ORDER
14                                 )         RE: UNSEALING OF PLEA
     RICHIE MISHAL,                )         AGREEMENT
15        aka Akram Abdellatif,    )
          aka Tom Hanney,          )
16                                 )
                                   )
17                  Defendant.     )
     ______________________________)
18
19         TO THE HONORABLE MORRISON C. ENGLAND, JR., UNITED STATES
20   DISTRICT JUDGE:
21         COMES NOW Carolyn K. Delaney, Assistant United States
22   Attorney for the Eastern District of California, to petition this
23   Court and respectfully represent:
24         1.   On March 27, 2007, the defendant entered guilty pleas in
25   the above-captioned cases.
26         2.   At the government’s request the plea agreement was
27   sealed.
28   ///

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1         3.   The government now requests that the plea agreement be
2    unsealed.    The undersigned represents that she has conferred with
3    defense counsel who have no objection to the unsealing.
4         THEREFORE, your petitioner prays that the aforesaid plea
5    agreement, filed on March 27, 2007, be unsealed.
6
     DATED:    June 30, 2008                       McGREGOR W. SCOTT
7                                                  UNITED STATES ATTORNEY
8
                                                   /s/ Carolyn K. Delaney
9                                             by   ______________________
                                                   CAROLYN K. DELANEY
10                                                 ASSISTANT U.S. ATTORNEY
11
12
13
                                      ORDER
14
15        IT IS HEREBY ORDERED that the document filed on March 27,
16   2007, in the above-captioned matters be unsealed forthwith.
17
     Dated: July 1, 2008
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19                                    _____________________________
20                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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